                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

IN RE: REALPAGE, INC., RENTAL                        Case No. 3:23-MD-3071
SOFTWARE ANTITRUST LITIGATION                        MDL No. 3071
(NO. II)
                                                     This Document Relates to:
                                                     3:23-cv-00552
                                                     3:23-cv-00357
                                                     3:22-cv-01082
                                                     3:23-cv-00378
                                                     3:23-cv-00742
                                                     3:23-cv-00410
                                                     3:23-cv-00979

                                                     Chief Judge Waverly D. Crenshaw, Jr.




    DEFENDANT MID-AMERICA APARTMENT COMMUNITIES, INC. AND MID-
     AMERICA APARTMENTS, L.P.’S UNOPPOSED MOTION TO EXCUSE LIVE
           APPEARANCE OF BRITT M. MILLER AT JULY 12, 2024,
                       STATUS CONFERENCE

       Defendants Mid-America Apartment Communities, Inc. and Mid-America Apartments,

L.P. (“MAA”) respectfully move for leave to excuse MAA’s counsel, Britt M. Miller, member of

Defendants’ Liaison Counsel and Steering Committee, from appearing live at the July 12, 2024,

Status Conference.

       On that date, Ms. Miller is scheduled to be traveling for an event that cannot be rescheduled.

Her colleague, Rachel J. Lamorte, also counsel for MAA, will appear live at the hearing should the

Court grant this motion and excuse Ms. Miller’s appearance.

       MAA has conferred with Plaintiffs, who have indicated that they do not oppose this Motion.




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DATED: July 2, 2024                        Respectfully submitted
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                                           and Mid-America Apartments, L.P.




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                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7.01(a)(1), the undersigned conferred with counsel for Plaintiffs
who indicated they are unopposed to the relief requested in this motion.

       DATED this 2d day of July, 2024.
                                                     /s/ Britt M. Miller
                                                     Britt M. Miller



                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 2, 2024, I electronically filed the foregoing document with the
Clerk of the Court using the CM/ECF system, which will send notification of such filing to all
attorneys of record registered on the CM/ECF system.

       DATED this 2d day of July, 2024.



                                                      /s/ Britt M. Miller
                                                      Britt M. Miller




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